     Case 5:10-cr-40110-RDR   Document 74   Filed 12/19/11   Page 1 of 3




                IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF KANSAS



UNITED STATES OF AMERICA,

                Plaintiff,
     vs.                               Case No. 10-40110-02-RDR

PATRICK M. TRACY, JR.,

                Defendant.


                                O R D E R

     This order is issued to record the court’s reasons for making

a downward variance during the sentencing hearing in the above-

captioned case. This matter came before the court for a sentencing

hearing on December 9, 2011. Defendant had pleaded guilty to Count

1 of an indictment charging defendant with illegal possession of a

firearm as a convicted felon in violation of 18 U.S.C. § 922(g).

     The   court   considered    defendant’s     personal     history        and

characteristics, the nature of the offense, defendant’s criminal

history, the advisory Sentencing Guidelines, and the factors the

court must consider under 18 U.S.C. § 3553 when sentencing.                Under

the Guidelines, defendant’s total offense level was 25 and his

criminal history category was V.      This produced a guideline range

of 100 to 120 months.

     The government agreed as part of a plea agreement not to

advocate a sentence above 84 months.            Defendant asked for a

sentence of probation and presented testimony from four witnesses
     Case 5:10-cr-40110-RDR    Document 74   Filed 12/19/11   Page 2 of 3




to support this position.

     A co-defendant in this case who pleaded guilty to the same

offense received a sentence of 84 months.

     The court decided to sentence defendant to 50 months.                  The

court reached this decision for the following reasons.             Defendant

has a serious criminal record, although not as serious as that of

the co-defendant in this case. Defendant’s record includes violent

crimes and drug crimes.       The violent crimes, however, occurred in

the 1990s.   Defendant appears to have made progress as a person

since then, particularly recently.

     The offense conduct in this case involved the theft of

firearms and then selling the firearms.          Defendant’s role in the

overall offense conduct did not appear as substantial as that of

the co-defendant.    Moreover, the firearms in this case were not

employed to commit some other crime.

     The motivation for the crime in this case appears to have been

to earn money to sustain a drug habit.         The testimony before the

court was that defendant has made great progress in controlling a

methamphetamine addiction.       This is a difficult feat and one for

which defendant deserves credit.

     Finally, the court heard testimony and read letters from

persons who spoke most favorably on defendant’s behalf. One of the

witnesses was a state probation officer.         This distinguishes this

case from the case of the co-defendant and from many other cases.


                                     2
       Case 5:10-cr-40110-RDR   Document 74   Filed 12/19/11   Page 3 of 3




       For these reasons, the court decided to make a substantial

downward variance from the bottom of the guideline range and to

give   defendant    a   substantially     lesser   sentence    than   the    co-

defendant.     However, because of defendant’s criminal history and

his substantial history of drug abuse, the court was unwilling to

grant a sentence of probation.

       IT IS SO ORDERED.

       Dated this 19th day of December, 2011 at Topeka, Kansas.


                                    s/Richard D. Rogers
                                    United States District Judge




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